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 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                         EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,              )     1:13-CR-0356 LJO
11                                          )
           Plaintiff,                       )     ORDER CONTINUING
12                                          )     SENTENCING DATE FROM
                                            )     APRIL 29, 2019 at 8:30 a.m.
13                                          )     TO JUNE 3, 2019 AT 8:30
                                            )     a.m.
14         v.                               )
                                            )
15                                          )
     CURTIS WHITE,                          )
16                                          )
                                            )
17         Defendant.                       )
                                            )
18
           Good cause appearing, it is hereby ordered that the sentencing hearing of
19

20   CURTIS WHITE, previously scheduled for April 29, 2019 at 8:30 a.m., be continued
21
     to June 3, 2019 at 8:30 a.m. Defendant is ordered to continue to comply with all
22
     previously ordered conditions of supervised release. Defendant is ordered to appear
23

24   June 3, 2019 at 8:30 a.m. for sentencing hearing.
25
     IT IS SO ORDERED.
26
        Dated:   April 15, 2019                    /s/ Lawrence J. O’Neill _____
27                                          UNITED STATES CHIEF DISTRICT JUDGE
28
